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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF IOWA
UNITED STATES OF AMERICA,                   )
                                            )
                       Plaintiff,           )
                                            )
                         vs.                )    CASE NO. 3:15-cr-00017-JEG-SBJ
                                            )
INOCENTE CHAVEZ SAENZ,                      )
                                            )
                       Defendant.           )


        REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

           The United States of America and the Defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11.        The Defendant

entered an open plea of guilty to Count 1 of the Second Superseding Indictment. After cautioning

and examining the Defendant under oath concerning each of the subjects mentioned in Rule 11, I

determined that the guilty plea was knowing and voluntary as to that count, and that the offense

charged is supported by an independent factual basis concerning each of the essential elements of

such offense. I, therefore, recommend that the plea of guilty be accepted, that a pre-sentence

investigation and report be prepared, and that the Defendant be adjudged guilty and have sentence

imposed accordingly.




Date                                              4ftt!~s~<;;fl ,(}
                                                 UNITED STATES MAGISTRATE JUDGE

                                            NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days
from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. 636(b)(l)(B).
